                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
On July 12, 2011, the court sent the parties a Journal Entry instructing Plaintiff to file a three mutually convenient trial dates within 14 days from the date of the Journal Entry. The Journal Entry advised that failure to comply with the deadlines set forth therein would result in dismissal of Plaintiff's appeal.
Plaintiff's deadline has passed and the court has not received from Plaintiff three mutually convenient trial dates or any further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of August 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Presiding Magistrate Jill A.Tanner on August 4, 2011. The Court filed and entered this documenton August 4, 2011.
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